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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


UNITED STATES OF AMERICA                 §
                                         §
V.                                       §                       1:23-CR-135-RP-1
                                         §
SAINT JOVITE YOUNGBLOOD                  §


              DEFENDANT’S UNOPPOSED MOTION FOR CONTINUANCE


COMES NOW THE Defendant, Saint Jovite Youngblood, by and through his agent and
attorney of record, Jeff Senter of Austin and Dallas, Texas, who makes and ﬁles this
Unopposed Motion for Continuance, and would show the court the following:
                                             I.
This case is set for Sentencing Wednesday 24 July 2024 at 9:00 a.m. in the United States
District Court, Austin Division, Judge Robert Pitman, presiding.


                                             II.
Counsel for Mr. Youngblood has met in person with Assistant U.S. Attorney Daniel Guess and
Assistant U.S. Attorney Matt Harding, the consequence of which is additional time is
necessary to prepare for Sentencing.


WHEREFORE PREMISES CONSIDERED, Defendant Saint Jovite Youngblood respectfully
requests that the Sentencing setting be continued to a date deemed appropriate by this
Honorable Court.
                                                   __________/JS/___________
                                                   Jeff Senter
                                                   Attorney for the Defendant
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